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  Q. Jacqui Ague




Jacqui Ague
EHS Manager at Seattle Children's Research Institute
Greater Seattle Area · 245 connections


                                          Join to connect


[{S] Seattle Children's
W:Li!   Case Western Reserve University
        School of Medicine




Experience
            EHS Manager
            Seattle Children's
            Oct 2018 - Present· 3 years 11 months

            Greater Seattle Area

           Center for Infectious Disease Research
           6 years 5 months


           EHS Manager




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Q. Jacqui Ague
     Apr 2016 - Present · 6 years 5 months
     Seattle, Washington


     IACUC Member
     Apr 2016 - Present · 6 years S months


      IBC Member
      Apr 2016 - Present· 6 years S months




m    University of Washington
     10 years


     IACUC Member
     2014 - Present· 8 years
     Seattle, Washington


     Biosafety Officer
     Feb 2013 - Apr 2016 · 3 years 3 months
     Greater Seattle Area
     Compliance
     Regulatory Oversight
     Biosafety Review
     Research Oversight
     Public Speaking
     Training


      Research Coordinator
      2012 - 2013 · 1 year



      Laboratory Manager
      Center for Vaccine Research, Regional Biocontainment Laboratory, University of
      Pittsburgh
      2010 - 2012 · 2 years




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 Q. Jacqui Ague
       C...VVI   -   C...V IC...   ..J   Jc::;-OIJ




       Greater Pittsburgh Area
       Teaching
       Lesson Development
       Training Development


       Research Speciaist IV
       Center for Vaccine Research, School of Medicine, University of Pittsburgh
       2009 - 2010 · 1 year

       Greater Pittsburgh Area


       Scientist
       Allegheny County Medical Examiner's Office, Forensic Laboratory Division
       2006 - 2009 · 3 years

       Greater Pittsburgh Area
       Examination of Physical Evidence
       Maintain Chain of Custody
       Testify as an Expert Witness in a Court of Law




Education
       Case Western Reserve University School of Medicine
       Master of Science (M.S.) · Pathology

       2004 - 2006


       Washington State University
       Bachelor of Science · Microbiology

       2000 - 2004


       Chugiak High School




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 Q. Jacqui Ague


Languages
 English




Organizations
 International Association for Identification



 International Association of Bloostain Pattern Analysts




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  Q. Jacqui Ague
         Tucson, AZ

         Nevin Pahlad, CSP, CHMM
         Environmental Safety
         New York, NY

         Miyoko Sasakura
         Industrial Hygienist, MS, CIH
         Seattle, WA

         Ryan Oakley MBA, CHSP
         Fire & Life Safety Compliance Manager at Cleveland Clinic
         Cleveland, OH

         Scott Mitch ell
         Human Resources Specialist at Natelco
         Haymarket, VA

         Antoinette Caputo
         Adjunct
         Greater Pittsburgh Region

         Chris Bruin, MS, CLSS-HC, CHSP, CHFM
         Safety Officer at Mercy Health - St. Rita's Medical Center
         Lima, OH

         Erick Wilkinson
         Environmental Health and Safety
         San Francisco Bay Area


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     Q. Jacqui Ague

                       CRISC Cert Prep: 2 IT Risk Assessment



                       Ergonomics 101


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                EHS Manager at Seattle Children's Research Institute


             EHS Manager at Seattle Children's


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